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                  EXHIBIT F
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           Updating WordPress

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                       The upgrade process will affect all files and folders included in the main WordPress installation.
           This includes all the core files used to run WordPress. If you have made any modifications to those files, your
           changes will be lost.


           You should always update WordPress to the latest version. When a new version of WordPress is available you
           will receive an update message in your WordPress Admin Screens. To update WordPress, click the link in this
           message.


           There are two methods for updating – the easiest is the one-click update, which will work for most people. If it
           doesn’t work, or you just prefer to be more hands-on, you can follow the manual update process.


           If you are updating across multiple versions, follow the procedure at Upgrading WordPress � Extended
           Instructions




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           Before you get started, it’s a good idea to back up your website. This means if there are any issues you can
           restore your website. Complete instructions to make a backup can be found in the WordPress Backup.




           For WordPress 3.7�, you don’t have to lift a finger to apply minor and security updates. Most sites are now
           able to automatically apply these updates in the background. If your site is capable of one-click updates
           without entering FTP credentials, then your site should be able to update from 3.7 to 3.7.1, 3.7.2, etc. �You’ll still
           need to click “Update Now” for major feature releases.)




           WordPress lets you update with the click of a button. You can launch the update by clicking the link in the new
           version banner (if it’s there) or by going to the Dashboard � Updates screen. Once you are on the “Update
           WordPress” page, click the button “Update Now” to start the process off. You shouldn’t need to do anything
           else and, once it’s finished, you will be up-to-date.


           One-click updates work on most servers. If you have any problems, it is probably related to permissions issues
           on the filesystem.




           WordPress determines what method it will use to connect to the filesystem of your server based on the file
           ownership of your WordPress files. If the files are owned by the owner of the current process (i.e., the user
           under which the web server is running), and new files created by WordPress will also be owned by that user,
           WordPress will directly modify the files all by itself, without asking you for credentials.


           WordPress won’t attempt to create the new files directly if they won’t have the correct ownership. Instead, you
           will be shown a dialog box asking for connection credentials. It is typical for the files to be owned by the FTP
           account that originally uploaded them. To perform the update, you just need to fill in the connection
           credentials for that FTP account.


           Whether your files are owned by the web server user, or not, will depend on how you installed WordPress and
           how your server is configured. On some shared hosting platforms, it is a security risk for the files to be owned
           by the web server user and not a FTP user. See the tutorial on Changing File Permissions for more information,
           including how to configure file permissions so that multiple FTP users are able to edit the files.




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           If you see a “failed update” nag message, delete the file                from your WordPress directory using
           FTP. This will remove the “failed update” nag message.


           If the one-click upgrade doesn’t work for you, don’t panic! Just try a manual update.




           These are the short instructions, if you want more check out the extended upgrade instructions. If you
           experience problems with the Three Step Update, you may want to review the more detailed upgrade
           instructions.


           For these instructions, it is assumed that your blog’s URL is http://example.com/wordpress/.




             �� Get the latest WordPress zip (or tar.gz) file.
             �� Unpack the zip file that you downloaded.
             �� Deactivate plugins.
             �� Delete the old wp-includes and wp-admin directories on your web host (through your FTP or shell
                access).
             �� Using FTP or your shell access, upload the new wp-includes and wp-admin directories to your web
                host, in place of the previously deleted directories.
             �� Upload the individual files from the new wp-content folder to your existing wp-content folder,
                overwriting existing files. Do NOT delete your existing wp-content folder. Do NOT delete any files or
                folders in your existing wp-content directory (except for the one being overwritten by new files).
             �� Upload all new loose files from the root directory of the new version to your existing WordPress root
                directory.


           NOTE � you should replace all the old WordPress files with the new ones in the wp-includes and wp-admin
           directories and sub-directories, and in the root directory (such as index.php, wp-login.php and so on).
           Don’t worry – your wp-config.php will be safe.


           Be careful when you come to copying the wp-content directory. You should make sure that you only copy the
           files from inside this directory, rather than replacing your entire wp-content directory. This is where your
           themes and plugins live, so you will want to keep them. If you have customized the default or classic themes
           without renaming them, make sure not to overwrite those files, otherwise you will lose your changes. �Though




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           you might want to compare them for new features or fixes..)


           Lastly you should take a look at the wp-config-sample.php file, to see if any new settings have been
           introduced that you might want to add to your own wp-config.php.




           If you’re upgrading manually after a failed auto-upgrade, delete the file .maintenance from your WordPress
           directory using FTP. This will remove the “failed update” nag message.




           Visit your main WordPress admin page at /wp-admin. You may be asked to login again. If a database upgrade
           is necessary at this point, WordPress will detect it and give you a link to a URL like http://example.com/
           wordpress/wp-admin/upgrade.php. Follow that link and follow the instructions. This will update your
           database to be compatible with the latest code. You should do this as soon as possible after step 1.


           Don’t forget to reactivate plugins!




           If you have caching enabled, clear the cache at this point so the changes will go live immediately. Otherwise,
           visitors to your site (including you) will continue to see the old version (until the cache updates).


           Your WordPress installation is successfully updated. That’s as simple as we can make it without Updating
           WordPress Using Subversion.


           Consider rewarding yourself with a blog post about the update, reading that book or article you’ve been
           putting off, or simply sitting back for a few moments and letting the world pass you by.




           Your update is now complete, so you can go in and enable your Plugins again.
           If you have issues with logging in, try clearing cookies in your browser.




           If anything has gone wrong, then the first thing to do is go through all the steps in our extended upgrade
           instructions. That page also has information about some of the most common problems we see.




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           If you run into a request for FTP credentials with trying to update WP on a IIS server automatically, it may well
           be a matter of rights. Go into the IIS Management Console, and there to the application pool of your blog. In its
           advanced settings, change the Process Model Id into LocalSystem. Then on Sites, choose your blog, right
           click, click on Edit permissions and on security tab add authenticated users. That should do it.


           If you experience problems after the upgrade, you can always restore your backup and replace the files with
           ones from your previous version from the release archive.




           If you have some knowledge of unix shells you should check out wp-cli.




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           Ask questions in the support forums.



           Check out the developer documentation.



           Report an error or change in the documentation issue tracker.



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